       Case:17-03725-EAG11 Doc#:101 Filed:06/18/18 Entered:06/18/18 10:35:21                                 Desc: Main
                                   Document Page 1 of 3




                                   UNITED STATES BANKRUPTCY COURT
                                      ALL DISTRICT OF PUERTO RICO

IN RE: ELIZABETH VEGA RAMOS I                                   CASE NO: 17-03725 EAG
       MARTIN RODRIGUEZ COLON                                   DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11




On 6/18/2018, I did cause a copy of the following documents, described below,
D.I.P. Objection to Hacienda Florida Claim #10




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 6/18/2018
                                                          /s/ Lyssette A Morales Vidal
                                                          Lyssette A Morales Vidal 120011

                                                          L.A. MORALES & ASSOCIATES P.S.C.
                                                          76 AQUAMARINA
                                                          Caguas, PR 00725-1908
                                                          787 746 2434
          Case:17-03725-EAG11 Doc#:101 Filed:06/18/18 Entered:06/18/18 10:35:21                                              Desc: Main
                                      Document Page 2 of 3




                                         UNITED STATES BANKRUPTCY COURT
                                            ALL DISTRICT OF PUERTO RICO

 IN RE: ELIZABETH VEGA RAMOS I                                            CASE NO: 17-03725 EAG
        MARTIN RODRIGUEZ COLON
                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 11




On 6/18/2018, a copy of the following documents, described below,

D.I.P. Objection to Hacienda Florida Claim #10




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 6/18/2018




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             Lyssette A Morales Vidal
                                                                             L.A. MORALES & ASSOCIATES P.S.C.
                                                                             76 AQUAMARINA
                                                                             Caguas, PR 00725-1908
PARTIES Case:17-03725-EAG11
        DESIGNATED AS "EXCLUDE" WEREDoc#:101     Filed:06/18/18
                                     NOT SERVED VIA                 Entered:06/18/18
                                                     USPS FIRST CLASS MAIL            10:35:21 Desc: Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 3 of 3
ELIZABETH VEGA RAMOS I                  LYSSETTE A MORALES VIDAL                KATHERINE PEREZ BURGOS MD
PO BOX 4956                             LA MORALES ASSOCIATES PSC URB           CO WANDA J MARIN LUGO ESQ
CAGUAS PR 00726-4956                     VILLA BLANCA 76 AQUAMARINA             1225 MUNOZ RIVERA AVE
                                        CAGUAS PR 00725-1908                    PONCE PR 00717-0635
